Case 2:20-cv-02042-CLM Document 1-1 Filed 12/18/20 Page 1 of 5            FILED
                                                                 2020 Dec-21 AM 10:50
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA




          EXHIBIT A
Case 2:20-cv-02042-CLM Document 1-1 Filed 12/18/20 Page 2 of 5
Case 2:20-cv-02042-CLM Document 1-1 Filed 12/18/20 Page 3 of 5
Case 2:20-cv-02042-CLM Document 1-1 Filed 12/18/20 Page 4 of 5
Case 2:20-cv-02042-CLM Document 1-1 Filed 12/18/20 Page 5 of 5
